Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 1 of 19 PageID 463




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION


FERMIN ALDABE,

FERMIN ALDABE, derivatively on
behalf of nominal plaintiff, PALMA
EFUUS SRL,

FERMIN ALDABE, derivatively on                        Case No. 3:22-cv-326-MMH-MCR
behalf of nominal plaintiff, PALMA
EFUUS LTD,

      Plaintiffs,

vs.

TERRACON CONSULTANTS,
INC., et al.,

      Defendants.
                                       /

             DEFENDANT, TERRACON CONSULTANTS, INC’S,
                       MOTION TO DISMISS

      Defendant, Terracon Consultant Inc. (“TCI”), pursuant to Federal Rule of Civil

Procedure 12(b)(6), hereby files its Motion to Dismiss Plaintiffs’ Amended Complaint

(DE 6) and states as follows:

                                Preliminary Statement

      Since 2016, ESI has been involved in lawsuits with Plaintiff, FERMIN ALDABE

(“Plaintiff Aldabe”), in various courts throughout the U.S. for the same contract and

the very allegations he has now set forth in the instant action. Plaintiff Aldabe

currently has a lawsuit against ESI that is pending in the Circuit Court of the Fourth
Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 2 of 19 PageID 464




Judicial Circuit in and for Duval County, Florida (“State Court Action”) before the

Honorable Waddell Wallace. Plaintiffs’ lawsuit in this Court against TCI must be

dismissed with prejudice, as Plaintiffs’ claims against TCI are time-barred by

Florida’s statute of limitations regarding breach of contract and tortious interference

because the last operative acts occurred in or before 2016 and Plaintiffs’ claims have

long since accrued. Additionally, Plaintiffs have not pled as allegations, nor have

attached a contract between TCI and PALMA EFUUS SRL. (“Plaintiff Palma SRL”) or

PALMA EFUUS LTD. (“Plaintiff Palma LTD), and thus, have failed to state a claim

for which relief can be granted in favor of Palma SRL or Palma LTD. Similarly,

Plaintiff Aldabe filed a shareholder derivative lawsuit, which substantive right is that

of the corporation, not of the shareholder, and Plaintiff Aldabe cannot appear in a pro

se capacity as representative of either entity. As such, Plaintiff Aldabe is engaged in

the unauthorized practice of law before this Court, and his Amended Complaint must

be dismissed for failure to state a claim for which relief can be granted in accordance

with local rules for the U.S. District Court for the Middle District of Florida, Federal

Rules of Civil Procedure, state law, and federal appellate case law.

      Lastly, Plaintiffs’ Amended Complaint suffers from further pleading

deficiencies, as it alleges two counts – breach of contract and tortious interference –

but does not separate counts or allegations as it relates to each litigating plaintiff,

which impairs TCI from properly responding to the allegations in the Amended

Complaint. In essence, the Amended Complaint amounts to a shotgun pleading and




                                           2
Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 3 of 19 PageID 465




this Court should dismiss it with prejudice. Accordingly, TCI respectfully requests

this Motion to Dismiss be granted.

                                       Statement of Facts

       1.      Plaintiff Aldabe has brought suit alleging various breaches of contract

stemming from agreements entered into between Plaintiff Aldabe and ESI. (DE 6,

para. 12). The agreement called for ESI to serve as a validating and verifying body

(“VVB”) for Plaintiff’s project, entitled “Protection of the Amazon Rain Forest II,”

located in Bolivia (hereinafter referred to as the “Project”). See (DE 6-1). No such

agreement was entered into between Palma SRL or Palma LTD, and TCI.

       2.      Since May 2016, over the course of nearly six (6) years in multiple

jurisdictions, Plaintiff has filed eight (8) different complaints pertaining to the

Project, including six (6) different complaints in the Circuit Court in and for Duval

County, Florida. See Composite Exhibit A to ESI’s Motion to Dismiss (DE 15).1

       3.      Plaintiff Aldabe first alleged claims for breach of contract in the first

litigation on May 27, 2016, when Plaintiff Aldabe filed a Complaint in the Middlesex

County Superior Court of the Commonwealth of Massachusetts against ESI alleging

three (3) counts for loss of goodwill and three (3) counts for breach of contract. See

Exhibit B to ESI’s Motion to Dismiss (DE 15).




1
 This Court can take judicial notice of the allegations advanced in complaints in other court actions.
Verizon Trademark Servs., LLC v. Producers, Inc., No. 8:10-cv-665-T-33EAJ,2011 U.S. Dist. LEXIS
11659, at *3 (M.D. Fla. Jan. 27, 2011). "It is recognized that a court may take judicial notice of a
document filed in another court not for the truth of the matters asserted in the other litigation, but
rather to establish the fact of such litigation and related filings." United States v. Jones, 29 F.3d 1549,
1553 (11th Cir. 1994).


                                                    3
Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 4 of 19 PageID 466




      4.     After motion practice and the ultimate dismissal of the Massachusetts

litigation, on or about February 27, 2018, Plaintiff filed a Complaint (the “State Court

Action”) in the Circuit Court of the Fourth Judicial Circuit in and for Duval County,

Florida, against ESI and various individuals alleging twelve (12) counts of breach of

contract, two (2) counts of the breach of the covenant of good faith and fair dealing,

five (5) counts of misrepresentation, two (2) counts of negligence, and one (1) count

of tortious interference with business relationships. See Exhibit C to ESI’s Motion to

Dismiss (DE 15).

      5.     Since then, Plaintiff Aldabe, has filed additional multiple Amended

Complaints in the State Court Action against ESI that have been the subject of motion

practice. The case is still pending, as Plaintiff Aldabe has filed a Fifth Amended

Complaint. See Exhibit D to ESI’s Motion to Dismiss (DE 15).

      6.     Critical to the motion, Plaintiff Aldabe’s breach of contract claim was

first asserted in 2016, while his claim based on tortious interference was first alleged

in 2018, although the operative facts were known in 2016.

      7.     Although Plaintiffs’ Amended Complaint at bar fails to identify the dates

of the alleged breaches, Plaintiff has alleged in the concurrent litigation that the

breaches of contract occurred during or prior to May 2016. See Exhibit C, paras. 21-

22, of ESI’s Motion to Dismiss (DE 15).

      8.     At latest, the breaches occurred in September 2016, when, as alleged by

Plaintiff in the State Court Action, ESI and Plaintiff held a meeting wherein ESI stated

that they would not continue to validate the project “unless Plaintiff agreed to hire a


                                           4
Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 5 of 19 PageID 467




forester with expertise in carbon forestry projects to act as an intermediary.”         Id. at

93-98. Plaintiff alleged in the State Court Action that ESI “explicitly defaulted the

contract when they refused to continue with validation….” Id. at 97-98. The tortious

interference claims are likewise based on those same allegations of breach of contract.

Id. at paras. 168-174

       9.     Therefore, because the operative facts were known in 2016, and the

statute of limitations on those claims began to run at that time, both the breach of

contract and tortious interference claims are now time-barred under Florida’s statute

of limitations laws, pursuant to Fla. Stat. § 95.11.

                              MEMORANDUM OF LAW

       I.     Standard.

       Federal Rule of Civil Procedure 12(b)(6) provides that a complaint is to be

dismissed if it fails to state a claim upon which relief can be granted. For a claim to

survive, Federal Rule of Civil Procedure 8(a)(2) requires “a short and plain statement

of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

“While a complaint . . . does not need detailed factual allegations” to survive a motion

to dismiss, Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007), it must state facts

sufficient “to state a claim to relief that is plausible on its face.” Id. at 569. A complaint

is insufficient if “it tenders ‘naked assertion[s]’ devoid of ‘further factual

enhancement.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The factual allegations

“must be enough to raise a right to relief above the speculative level.” Twombly, U.S.

544 at 555.


                                              5
Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 6 of 19 PageID 468




      Further, in deciding a Rule 12(b)(6) motion, the district court can consider any

exhibits attached to the complaint or documents referenced in the pleading that are

central to a plaintiff’s claim, and any facts that undermine a plaintiff’s claim, even

those in exhibits and other documents referenced in the complaint.           Bogie v.

Rosenberg, 705 F.3d 603, 609 (7th Cir. 2013). Exhibits that contradict allegations in

the Complaint control the district court’s decision. Id. Therefore, the sufficiency of

Plaintiffs’ Amended Complaint is viewed in light of the complaint itself, exhibits,

documents incorporated by reference, and matters that are properly judicially

noticed. See Cohen v. NVIDIA Corp. (In re NVIDIA Corp. Sec. Litig.), 768 F.3d 1046,

1051 (9th Cir. 2014).

      II.   Plaintiffs’ Amended Complaint Fails to State a Claim against
            TCI and Should be Dismissed with Prejudice because it is Time
            Barred by Florida’s Statute Of Limitations for Breach of
            Contract and Tortious Interference Claims, There Is No
            Contractual Privity between Plaintiffs, Palma SRL and Palma
            LTD, and Plaintiff Aldabe is Engaging in the Unauthorized
            Practice of Law

      A.    The claims in Plaintiffs’ Amended Complaint are time
            barred by Florida’s Statute of Limitations because the
            operative facts allegedly supporting breach of contract
            and tortious interference occurred at the latest in 2016,
            and Plaintiffs’ lawsuit against TCI must be dismissed.

      Plaintiffs’ Amended Complaint asserts causes of action for Breaches of

Contract (Count I) and Tortious Interferences (Count II). Both of these actions are

time-barred and must be dismissed with prejudice, because Plaintiffs did not file the

instant action until March 21, 2022. See (DE 10).




                                          6
Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 7 of 19 PageID 469




      Long established Supreme Court precedent holds that “a statute that would

completely bar recovery in a suit if brought in a State court bears on a State-created

right vitally and not merely formally or negligibly. As to consequences that so

intimately affect recovery or non-recovery a federal court in a diversity case should

follow State law.” Guar. Tr. Co. v. York, 326 U.S. 99, 110 (1945). If Plaintiffs April 8,

2022 Amended Complaint would have been barred in state court, then a federal court

cannot afford Plaintiffs a recovery. Id.

      Further, Plaintiffs alleged in the Amended Complaint that this court has

diversity jurisdiction. See (DE 6, paras. 3-4). A federal court sitting in diversity must

apply the substantive law of the state for diversity purposes. Quality Cleaning Prods.

R.C. v. SCA Tissue N. Am., LLC, 794 F.3d 200, 204-205 (1st Cir. 2015). In fact, a

state’s statute of limitations serves important policies for the state and the federal

courts sitting in diversity must apply state law rules to issues regarding time-barred

claims, including accrual rules. Id.

      In evaluating time-barred claims, a complaint is subject to dismissal for failure

to state a claim for which relief may be granted if the allegations, show that the relief

is barred by the applicable statute of limitations. Jones v. Bock, 549 U.S. 199, 215, 127

S. Ct. 910, 920-21 (2007). Here, the allegations not only include the words in the

Amended Complaint, but exhibits, documents referred to or incorporated by

reference, and matters properly judicially noticed. See Cohen, 768 F.3d at 105; Bogie,

705 F.3d at 609.




                                           7
Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 8 of 19 PageID 470




      In Florida, Section 95.11 of the Florida Statutes provides limitations for all

causes of actions originating in the state. Laronde v. Mason, No. 3:13cv4/MCR/CJK,

2014 U.S. Dist. LEXIS 36893, at *33 (N.D. Fla. Feb. 13,2014). Under Fla. Stat. §

95.11(2)(b), a claim for breach of a written contract must be made within five years.

             (2) Within five years.
             (b) A legal or equitable action on a contract, obligation, or liability
             founded on a written instrument, except for anaction to enforce a
             claim against a payment bond, which shall be governed by the
             applicable provisions of paragraph (5)(e), s. 255.05(10), s.
             337.18(1), or s. 713.23(1)(e), and except for an action for a
             deficiency judgment governed by paragraph (5)(h).

Id. (bold in original).

      Even less time is afforded for tortious interference. Under Florida law,

Plaintiffs’ claim for Tortious Interference has a statute of limitations of four years.

See Fla. Stat. § 95.11; King v. Bencie, 806 F. App'x 873, 874 (11th Cir. 2020)(district

court did not err in granting motion to dismiss on claim for tortious interference with

contractual relations in a business relationship because the claim had a four year

statute of limitations).

      Here, although Plaintiffs’ Amended Complaint fails to allege specific dates of

the alleged breaches and/or tortious conduct, Plaintiff Aldabe has maintained that

ESI breached its contract since the first litigation arising out of the Project back in

2016. See Exhibit B to ESI’s Motion to Dismiss (DE 15). Indeed, the State Court

Action referred to in Plaintiffs’ Amended Complaint alleged that the breach of

contract and the tortious interference occurred during or prior to May 2016. See

Exhibit C, paras. 21-22, 168-174, to ESI’s Motion to Dismiss (DE 15) . At latest, the


                                            8
Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 9 of 19 PageID 471




breaches occurred in September 2016 when, as alleged by Plaintiff in the State Court

Action, ESI and Plaintiff held a meeting wherein ESI stated that they would not

continue to validate the project “unless Plaintiff agreed to hire a forester with

expertise in carbon forestry projects to act as an intermediary.” Id. At 93-98. Plaintiff

alleged in the State Court Action that ESI “explicitly defaulted the contract when they

refused to continue with validation….” Id. at 97-98. The tortious interference claims

are likewise based on those same allegations of breach of contract. Id. at paras. 168-

174.

       It is now 2022—over five years have passed since Aldabe first filed a lawsuit

alleging breach of contract, and the tortious interference claims are based on that

breach of contract. Plaintiffs’ own Amended Complaint acknowledges that “Plaintiff

(the individual) has already brought a lawsuit against Environmental Services Inc. in

Circuit Court For Duval County Florida (case number: 16-2018-CA-001258-XXXX-

MA) and now brings a lawsuit only against the other two defendants and not against

Environmental Services Inc.” (DE 6, para. 1). Therefore, it necessarily follows that

Plaintiffs are not making new allegations to support non-time barred breach of

contract or tortious interference against ESI that have not already been set forth in

the State Court Action.

       Accordingly, Plaintiffs’ claims for breach of contract and tortious interference

against TCI are time barred under Florida’s statute of limitation law, based upon the

allegations incorporated by reference in Plaintiffs Amended Complaint regarding the

State Court Action, which are properly judicially noticed, and are incontrovertibly


                                           9
Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 10 of 19 PageID 472




supported by Plaintiffs own concession regarding the operative facts. As such, time

has run out on these claims, and this Court must dismiss Plaintiffs’ claims against

TCI with prejudice.

      B.     Plaintiffs Palma SRL and Palma LTD’s claims against TCI
             must be dismissed with prejudice for failure to state a
             claim for which relief may be granted because neither
             entity had a contract with TCI, and Plaintiffs’ own
             exhibits contradict any assertion that Palma SRL or
             Palma LTD had a contract with TCI

      Plaintiffs attached as exhibits to the Amended Complaint a contract between

ESI and Plaintiff Aldabe, initially executed on January 8, 2012, that served as the

basis for the Amended Complaint allegations, and their purported claim for relief.

See DE 6-1, p. 12. Throughout the entire document, reference is made to ESI and

Plaintiff Aldabe’s contractual relationship. Neither Palma SRL nor Palma LTD is

referred to as a party to the contract, and Plaintiff Aldabe, as an individual, claimed

that he was the project owner. See DE 6-1, p. 12.

      Under well-established federal law, a complaint alleging some type of

entitlement to relief based upon a contract “must contain sufficient factual details to

describe the parameters of the contract before discovery may commence.” Bissessur

v. Ind. Univ. Bd. of Trs., 581 F.3d 599, 603 (7th Cir. 2009). Similarly, it is not enough

for a plaintiff to allege that he or she had a contract with the defendant, gave

consideration, and the defendant breached the contract. Id. Specific facts such as

what the nature of the contract was, promises made, consideration, and the specific

breach unique to the plaintiff and defendant must be pled in the complaint. Id.



                                           10
Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 11 of 19 PageID 473




      Further, in diversity cases such as this, the district court must apply federal

procedural law and substantive law, and the rules of contract interpretation are

substantive. Hess v. Bresney, 784 F.3d 1154, 1158 (7th Cir. 2015). Both Plaintiffs

Palma SRL and Palma LTD’s breach of contract and tortious interference claim are

based on a contract that existed only between ESI and Plaintiff Aldabe. Nowhere in

the Amended Complaint is there any allegations that any contract existed between

Plaintiffs Palma SRL and Palma LTD and TCI, nor can there be.

      Even if Plaintiffs Palma SRL and Palma LTD were to make allegations

regarding the existence of a contract between the two entities and TCI, those

allegations would be incontrovertibly rebutted by the exhibits, documents referred to

and incorporated by reference, and by matters properly judicially noticed. See Cohen,

768 F.3d at 105; Bogie, 705 F.3d at 609.

      Absent a written contract between TCI and Palma SRL or Palma LTD, which

could substantively serve as the basis for a breach of contract or tortious interference

claim against TCI, Plaintiffs Palma SRL and Palma LTD’s claims fail as a matter of

law, and this Court should dismiss them with prejudice.

      C.     The Amended Complaint amounts to a “Shotgun
             Pleading “because it fails to comply with the pleading
             standard of Rule 8

      A shotgun pleading is where it is “virtually impossible” to know what

allegations of fact support what claim for relief, on behalf of what plaintiff, and

against what defendant. Barnes v. AstraZeneca Pharm. LP, 253 F. Supp. 3d 1168,

1171 (N.D. Ga. 2017). Plaintiffs’ Amended Complaint qualifies as a “common type” of


                                           11
Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 12 of 19 PageID 474




shotgun pleading, with a long resuscitation of facts, two separate counts, but no

specific reference as to how those counts are supported by facts against each

defendant, or how each plaintiff has been aggrieved by each defendant resulting in

breach of contract or tortious interference by ESI. See Id.

      Instead of identifying which count or allegations pertains to which defendant,

Plaintiffs generally refer to the responsible party as “it.” (DE 6, paras. 67-100).

Because there are three defendants in this case, it is impossible to tell which counts

or allegations pertain to which defendants, and likewise what conduct is attributable

to which defendant. By pleading in this fashion, Plaintiffs have failed to meet the

minimum pleading standard of Rule 8(a)(2). See, e.g., Santarsiero v. Martin, No.

2:20-cv-00435-FtM-29NPM, 2020 U.S. Dist. LEXIS 237961, at *8-9 (M.D. Fla. Dec.

18, 2020) (finding the complaint suffered from a pleading defect where plaintiff

generally alleged “defendants,” and the court found that "[b]y lumping all the

defendants together in [this] claim and providing no factual basis to distinguish their

conduct, [the plaintiffs' amended] complaint fail[s] to satisfy this minimum standard

[in Rule 8(a)(2)]."), citing to Pierson v. Orlando Reg'l Healthcare Sys., 619 F. Supp.

2d 1260, 1273 (M.D. Fla. 2009); Veltmann v. Walpole Pharmacy, Inc., 928 F. Supp.

1161, 1164 (M.D. Fla. 1996) (dismissal appropriate for pleading deficiencies when

plaintiff's complaint made general allegations against all of the named defendants,

making it "virtually impossible to ascertain. . .which defendant committed which

alleged act.").




                                          12
Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 13 of 19 PageID 475




      The Court in Santarsiero held that “[e]ach count must identify by name the

defendant who is alleged to be liable for the conduct described in the count, and set

forth plausible facts showing the liability of each named defendant.” Id. citing (Fed.

R. Civ. P. 8) (citing Pierson, 619 F. Supp. 2d at 1273 (stating that Rule 8 requires that

a complaint provide fair notice to each defendant of the plaintiff's claim and the

grounds upon which it rests).

      Here, Count I for Breaches of Contract and Count II for Tortious Interference

do not identify which individual party those claims are being made against, yet nearly

all of the allegations allege some action by ESI but no allegations concerning TCI

beside TCI’s acquisition of a portion of the assets of ESI. Within Counts I and II,

Plaintiffs vaguely refer to the party at issue as “it” as opposed to directly identifying

which party they are referring to. As such, TCI is forced to respond to the Amended

Complaint as it is impossible to decipher who Plaintiffs truly intend to lodge these

counts against.

      The Amended Complaint is also an improper shotgun pleading because it fails

to separate each count against each defendant such that the parties can identify who

each claim is being asserted against. See Weiland v. Palm Beach Cty. Sheriff’s Office,

792 F.3d 1313, 1321-23 (11th Cir. 2015) (“The third type of shotgun pleading is one

that commits the sin of not separating into a count each cause of action or claim for

relief.”); Cruz v. Royal Caribbean Cruises Ltd., Civil Action No. 20-20788-Civ, 2020

U.S. Dist. LEXIS 31438, at *1-2 (S.D. Fla. Feb. 24, 2020) (citing Vibe Micro, Inc. v.




                                           13
Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 14 of 19 PageID 476




Shabanets, 878 F.3d 1291, 1294-95 (11th Cir. 2018)) ("Courts in the Eleventh Circuit

have little tolerance for shotgun pleadings.").

      Accordingly, these counts fail to state a claim for relief for each plaintiff under

Rule 8 because they fail to separate counts against each defendant and therefore set

forth the claim and any grounds for same. This Court must dismiss these counts

against TCI and require Plaintiffs to identify by name which defendant is alleged to

be liable and what conduct of that defendant supports such liability, should this Court

not dismiss the entire lawsuit against TCI with prejudice on other grounds argued in

the instant motion.

      III.   Plaintiff Aldabe is engaging in the unauthorized practice of
             law, as he cannot bring a derivative lawsuit in a pro se capacity
             as a representative of Palma SRL and Palma LTD, and the
             Amended Complaint must be dismissed for failure to state a
             claim for which relief can be granted

      Plaintiffs’ Amended Complaint preamble indicates that Plaintiff Aldabe is

bringing a verified shareholder derivative complaint on behalf of Palma LTD. See (DE

6). In Paragraph 2 of the Amended Complaint, Plaintiff Aldabe incorporates Palma

SRL. However, not only is Plaintiff Aldabe not properly before this court pursuant to

the local rules for the Middle District of Florida, but federal law bars him from

appearing as a representative for a corporation, either directly or derivatively, in a

lawsuit.

      Pursuant to U.S. District Court for the Middle District, Local Rule2.02(b)(2),

“[a] party, other than a natural person, can appear through the lawyer only.” See

Local Rules of The United State District Court for the Middle District of Florida,


                                          14
Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 15 of 19 PageID 477




revised and effective February 1, 2021. Notwithstanding Plaintiff Aldabe’s time-

barred claims against TCI, while he can appear individually as a natural person

asserting claims against ESI based upon the contract attached as an exhibit to the

Amended Complaint, he cannot appear as a representative for the corporations of

Palma SRL and Palma LTD, or derivatively as a shareholder for those corporations.

Additionally, both federal and Florida state law address this issue. Under Florida

state law, Plaintiff Aldabe is violating Florida law that clearly prohibits a corporation

from appearing pro se. See, e.g., Szteinbaum v. Kaes Invecsiones Valores, 476 So. 2d

247 (Fla. 3d DCA 1985) (holding that under Florida law a corporation, as a fictitious

entity, may not appear pro se). Accordingly, Fermin Aldabe cannot proceed pro se on

behalf of Palma SRL and Palma LTD because proceeding in this matter constitutes

the unlicensed practice of law.

      In Plaintiffs’ Amended Complaint, he pleads 28 U.S.C § 1332 the federal

district courts diversity jurisdiction.    However, that same U.S. code ensnares

Plaintiffs. According to 28 U.S.C. § 1332(c), a corporation ‘shall be deemed to be a

citizen of any State by which it has been incorporated and of the State where it has its

principal place of business . . . .’ 28 U.S.C. § 1332(c). Pinnavaia v. Moody-Stuart, No.

C 09-03803 CW, 2009 U.S. Dist. LEXIS 115453, at *6(N.D. Cal. Dec. 11, 2009).

Moreover, the substantive right to bring a shareholder derivative suit lies with the

corporation – Palma SRL and Palma LTD –not with the individual – Plaintiff Aldabe.

Id. * 8 (citing Phillips v. Tobin, 548 F.2d 408, 411 (9th Cir. 1976)).




                                           15
Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 16 of 19 PageID 478




      As such, this Court must dismiss Plaintiffs Palma SRL and Palma LTD’s claims

against TCI because they are not properly represented by an attorney that is admitted

to membership to practice before the United States District Court for the Middle

District of Florida, and Plaintiff Aldabe, in his pro se capacity, is engaging in the

unauthorized practice of law on behalf of Palma SRL and Palma LTD. See generally

Am. Univ. of the Caribbean v. Tien, No. 04-20834-CIV-GOLD/TORRES, 2013 U.S.

Dist. LEXIS 201122, at *11-12 (S.D. Fla. Dec. 2, 2013) (citing to numerous cases in

support of proposition).

      IV.    Plaintiffs have failed to properly serve TCI.

             Under Fed. R. Civ. P. 4(h)(1)(B):

             A plaintiff may serve a corporate defendant by

             [D]elivering a copy of the summons and of the complaint to
             an officer, a managing or general agent, or any other agent
             authorized by appointment or by law to receive service of
             process and—if the agent is one authorized by statute and
             the statute so requires—by also mailing a copy of each to the
             defendant[.]

Id. A plaintiff may also serve a defendant by "following state law for serving a

summons in an action brought in courts of general jurisdiction in the state where the

district court is located or where service is made[.]" Fed. R. Civ. P. 4(h)(1)(A), 4(e)(1).

Florida Statutes permit process to be served on a corporation by serving any

one of the following persons: (a) the president, vice president or other corporate

head; (b) the cashier, treasurer, secretary, or general manager; (c) any corporate

director; (d) any officer or business agent residing in Florida; (e) an agent designated



                                            16
Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 17 of 19 PageID 479




by the corporation under Fla. Stat. 48.091.3; See Fla. Stat. § 48.081. Kennedy v.

Orltel, LLC, No. 6:17-cv-2014-Orl-37TBS, 2018 U.S. Dist. LEXIS 36160, at *3-4 (M.D.

Fla. Feb. 16, 2018).

      On May 31, 2022, Plaintiffs filed their Proof of Service for Defendant TCI. See

(DE 9). The Proof of Service lists Aldabe’s wife, Elizabeth Braun de Aldabe as the

server.

      As a threshold matter, Plaintiffs have failed to properly serve TCI and the Proof

of Service is deficient on its face. The Proof of Service fails to indicate the date of the

service. See (DE 9). Furthermore, by having Aldabe’s wife act as the sever, Plaintiffs

have failed to comply with Florida Rule of Civil Procedure 1.070, which reads:

      (b) Service; By Whom Made. Service of process may be made by an
      officer authorized by law to serve process, but the court may appoint any
      competent person not interested in the action to serve the process.
      When so appointed, the person serving process shall make proof of
      service by affidavit promptly and in any event within the time during
      which the person served must respond to the process. Failure to make
      proof of service shall not affect the validity of the service. When any
      process is returned not executed or returned improperly executed for
      any defendant, the party causing its issuance shall be entitled to such
      additional process against the unserved party as is required to effect
      service. Fla. R. Civ. P. 1.070 (Emphasis added).

      Here, Elizabeth Braun de Aldabe is clearly an interested party and as such is

unqualified under Rule 1.070 to make service of process upon TCI and attest to same.

Accordingly, Plaintiffs have failed to properly serve TCI with this suit.

                                      Conclusion

      Plaintiffs Amended Complaint should be dismissed on several grounds. It is

nothing more than a shotgun pleading with claims that are time-barred, improperly


                                            17
Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 18 of 19 PageID 480




pled, lacking legal basis and absence of contract, and are improperly bought before

this Court in contrivance of federal and Florida state law.

      Plaintiffs have set forth a deficient pleading which improperly lumps all

defendants together and fails to identify which parties each count is being brought

against. Plaintiffs have further not produced any contract supporting any claims for

breach of contract or tortious interference against TCI on behalf of Palma SRL and

LTD, and Plaintiff Aldabe, in his pro se capacity, is barred from bringing any claims

on behalf of the corporate entities, individually or derivatively, and has therefore

engaged in the unauthorized practice of law by representing a corporation pro se.

      WHEREFORE, TCI respectfully requests this Court dismiss the Amended

Complaint against it with prejudice.

      Respectfully submitted this 15th day of June, 2022.

                                           WRIGHT, FULFORD, MOORHEAD&
                                           BROWN, P.A.

                                           /s/ Curtis L. Brown
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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 15, 2022 I electronically filed the foregoing

document with the Clerk of the court using CM/ECF. I also certify that the foregoing

document is being served this day on all counsel of record or pro se parties identified on


                                           18
Case 3:22-cv-00326-MMH-MCR Document 17 Filed 06/15/22 Page 19 of 19 PageID 481




the attached Service List in the manner specified, either via transmission of Notices

of Electronic Filing generated by CM/ECF or in some other authorized manner for those

counsel or parties who are not authorized to receive electronically Notices of Electronic

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                                           19
